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            EXHIBIT B
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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION


WSOU INVESTMENTS, LLC D/B/A                       §
BRAZOS LICENSING AND                              §     CIVIL ACTION 6:20-cv-00571-ADA
DEVELOPMENT,                                      §     CIVIL ACTION 6:20-cv-00572-ADA
          Plaintiff,                              §     CIVIL ACTION 6:20-cv-00573-ADA
                                                  §     CIVIL ACTION 6:20-cv-00574-ADA
                                                  §     CIVIL ACTION 6:20-cv-00575-ADA
                                                  §     CIVIL ACTION 6:20-cv-00576-ADA
                                                  §     CIVIL ACTION 6:20-cv-00577-ADA
                                                  §     CIVIL ACTION 6:20-cv-00578-ADA
v.                                                §     CIVIL ACTION 6:20-cv-00579-ADA
                                                  §     CIVIL ACTION 6:20-cv-00580-ADA
                                                  §     CIVIL ACTION 6:20-cv-00581-ADA
                                                  §     CIVIL ACTION 6:20-cv-00582-ADA
                                                  §     CIVIL ACTION 6:20-cv-00583-ADA
GOOGLE LLC,                                       §     CIVIL ACTION 6:20-cv-00584-ADA
         Defendant.                               §     CIVIL ACTION 6:20-cv-00585-ADA
                                                  §


                             CLAIM CONSTRUCTION ORDER

       The Court provided its preliminary constructions on March 23, 2021. The Court held a

claim construction hearing on March 25, 2021. ECF No. 45.

       After careful consideration of the parties’ briefs, oral argument, and the applicable law,

the Court enters its final constructions for each term as shown below.



Claim Term/ Phrase                               Court’s Construction
“continuous wave doppler radar”                  Plain and ordinary meaning
United States Patent No. 9,335,825
Claims 1 and 19
“at least one memory and the computer            Subject to 35 U.S.C. § 112, ¶ 6.
program code are configured, with the at least
one processor, to cause the apparatus to at      Function: detect that an application is being
least: detect                                    started on the apparatus; in response to the
that an application is being started on the      application being started on the apparatus,
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apparatus; in response to the application being   turn on a continuous wave doppler radar at
started on the apparatus, turn on a continuous    the apparatus
wave doppler radar at the apparatus”
United States Patent No. 9,335,825                Structure: none; indefinite
Claim 1
“tap direction”                                   Plain and ordinary meaning
United States Patent No. 7,777,728
Claims 1, 11, 16
“communication traffic exchanged with a           Plain and ordinary meaning
communication network subscriber over an
access communication link”
United States Patent No. 8,041,806
Claims 1, 9, 10, 11, 14
“access network”                                  Plain and ordinary meaning
United States Patent No. 8,041,806
Claims 1, 7, 9, 10, 11, 14
“a behavioral information collector operable      Plain and ordinary meaning
to monitor communication traffic exchanged
with a communication network subscriber
over an access communication link”
United States Patent No. 8,041,806
Claims 1, 9, 10
“the behavioral information collector being       Plain and ordinary meaning
configurable to collect from any of a plurality
of types of communication traffic in the
monitored communication traffic behavioral
information indicative of behavior of the
subscriber in using the access communication
link”, “the behavioral information collector
operable to . . . collect from the monitored
communication traffic behavioral information
indicative of behavior of the subscriber in
using the access communication link”, and
“the behavioral information collector being
configurable to collect the behavioral
information from any of a plurality of types of
communication traffic in the monitored
communication traffic”
United States Patent No. 8,041,806
Claims 1, 9, 10
“alert”                                           Plain and ordinary meaning
United States Patent No. 7,304,563
Claims 1, 12, 16
“alerting unit configured to issue an alert”      Subject to 35 U.S.C. § 112, ¶ 6.
United States Patent No. 7,304,563
Claim 1                                           Function: issue an alert
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                                                 Structure: The structure disclosed for the
                                                 alerting unit (which includes a processor)
                                                 must employ an algorithm to at least initiate a
                                                 connection to another communication
                                                 terminal over a network.

                                                The Court finds that no algorithm was
                                                disclosed. This term is indefinite.
“signaling unit configured to locally signal to Subject to 35 U.S.C. § 112, ¶ 6.
a user”
United States Patent No. 7,304,563              Function: locally signal to a user
Claim 1
                                                Structure:
                                                loudspeaker, light, vibrating unit, and
                                                equivalents thereof. ’563 patent, 2:57-58, 4:4-
                                                8
“initiating [a/the] connection to the other Plain and ordinary meaning
communication
terminal at a predetermined time offset from
[signaling the user using the signaling
unit/locally signaling the
users/signaling the user by the signaling
means]”
United States Patent No. 7,304,563
Claims 1, 12, 16
“the terminal”                                  Indefinite
United States Patent No. 7,304,563
Claim 12
“issuing means for issuing an alert”            Subject to 35 U.S.C. § 112, ¶ 6.
United States Patent No. 7,304,563
Claim 16                                        Function: issuing an alert

                                                 Structure: Indefinite, see “alerting unit
                                                 configured to issue an alert”
“autofocus algorithm”                            Plain and ordinary meaning.
United States Patent No. 8,238,681
Claims 1, 9, 16, and 24                        The Court notes that Plaintiff did not raise its
                                               proposed construction in its briefs.
“second part in between the first part and the Indefinite
second part”
United States Patent No. 8,238,681
Claims 1, 9, 16, and 24
“means for assigning a focus value mask to Subject to 35 U.S.C. § 112, ¶ 6.
each of the plurality of parts of the at least
one sub-window”                                Function: assigning a focus value mask to
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United States Patent No. 8,238,681                 each of the plurality of parts of the at least
Claim 24                                           one sub-window

                                                   Structure: none; indefinite
“a processor configured to ...”                    Plain and ordinary meaning
United States Patent No. 8,238,681
Claim 16
“broadcast” / “broadcasting”                       Plain and ordinary meaning
United States Patent No. 7,620,967
Claims 1, 7
“contact information”                              Plain and ordinary meaning
United States Patent No. 8,559,928
Claims 1, 15, 23
“tree structure”                                   Plain and ordinary meaning
United States Patent No. 8,559,928
Claims 1, 15, 23
“a list of actions” and “a plurality of actions”   Plain and ordinary meaning
United States Patent No. 8,751,585
Claims 1, 9, 17
“moving the selected electronic message from       Plain and ordinary meaning
the inbox to the archive location after
detection of the action defined in the
archiving rule”
United States Patent No. 8,751,585
Claim 1

“to move the selected electronic message
from the inbox to the archive location after
detection of the action defined in the
archiving rule”
United States Patent No. 8,751,585
Claim 9

“moving the first electronic message from the
inbox of the electronic mail client associated
with the user to the first storage location
associated with the first archiving rule after
the first action specified in the first archiving
rule is detected”
United States Patent No. 8,751,585
Claims 1, 9, 17
“client management processor configured to        Subject to 35 U.S.C. § 112, ¶ 6.
enable the user to select an electronic message
from the inbox”                                   Function: to enable the user to select an
United States Patent No. 8,751,585                electronic message from the inbox
Claim 9
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                                                  Structure: indefinite

“a detection processor configured to detect       Subject to 35 U.S.C. § 112, ¶ 6.
the action defined in the archiving rule
assigned to the selected electronic message       Function: to detect the action defined in the
was carried out”                                  archiving rule assigned to the selected
United States Patent No. 8,751,585                electronic message was carried out
Claim 9
                                                  Structure: indefinite
“a collaborative application management           Subject to 35 U.S.C. § 112, ¶ 6.
processor configured to manage collaborative
applications”                                     Function: to manage collaborate applications
United States Patent No. 8,751,585
Claim 9                                           Structure: indefinite

“stationary state”                                Plain and ordinary meaning
United States Patent No. 8,737,961
Claims 1 and 11
“incrementing [of] a count[er] for a stationary   Plain and ordinary meaning
state”
United States Patent No. 8,737,961
Claims 1 and 11
“determin[e/ing] a primary set of stationary      Plain and ordinary meaning
states”
United States Patent No. 8,737,961
Claims 1 and 11
“a pre-emptive user output”                       An output provided to the user to pre-
(all claims)                                      emptively avoid e.g.
United States Patent No. 8,965,045                loss of tracking,
(Proposed by Defendant)                           an undesirable result

“said processor configured to provide a pre-      Subject to means-plus-function treatment
emptive user output when the sub-set of           under 35 U.S.C. § 112, ¶ 6.
pixels approaches an edge of the set of
available pixels”                                 Function: provide a pre-emptive user output
United States Patent No. 8,965,045                when the sub-set of pixels approaches an edge
Claim 1                                           of the set of available pixels.

                                                  Structure: none; indefinite.
“a content transfer controller configured to      Plain and ordinary meaning
determine an acceptable activity period by
monitoring usage of the one or more
components over a particular time duration,
and wherein the content transfer controller is
configured to determine that an acceptable
activity period is present when the usage of
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the one or more components is determined to
have been below a particular threshold level
over the particular time duration”
United States Patent No. 8,595,283
Claim 1
“the selected item of content”                   Plain and ordinary meaning
United States Patent No. 8,595,283
Claims 1, 2, 3, 10, 21

“an acceptable level of device activity”         Plain and ordinary meaning
United States Patent No. 8,595,283
Claim 21
“monitoring usage of one or more                 Plain and ordinary meaning
components …over a particular time
duration”
United States Patent No. 8,595,283
Claims 1, 10
“client-side compositing of media streams”       Preamble is limiting
United States Patent No. 8,640,180
All claims
“wherein the compositing-instruction             Plain and ordinary meaning
substream indicating the area of the display
screen to display the at least one media
substream is an area to display one of the on
screen display and a picture-in-picture”
United States Patent No. 8,640,180
Claims 8, 21
“the input image”                                Plain and ordinary meaning
United States Patent No. 7,946,491
Claims 1, 13, 25, and 41
“performing a correction on the input image”     Plain and ordinary meaning
United States Patent No. 7,946,491
Claims 1, 13, 25, and 41
“new frame”                                      Plain and ordinary meaning
United States Patent No. 7,946,491
Claims 1, 13, 25, and 41
“computer program product comprising at          Plain and ordinary meaning
least one computer-readable storage medium
having computer-readable program code
portions stored therein, the computer-readable
program code portions comprising … a
first/second/third/fourth/fifth executable
portion for . . .”
United States Patent No. 7,946,491
Claim 13
“apparatus comprising a processor and            Plain and ordinary meaning
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memory including computer program code,
the memory and the computer program code
configured to, with the processor, cause the
apparatus at least to . . .”
United States Patent No. 7,946,491
Claim 25
“means for processing an input image for an       Function: processing an input image for an
attempt to decode the input image using a         attempt to decode the input image using a
current barcode reading method, the               current barcode reading method, the
processing including performing a correction      processing including performing a correction
on the input image”                               on the input image
United States Patent No. 7,946,491
Claim 41                                          Structure: 9:58 to 11:23, 15:25 to 16:52.
“means for determining whether the                Function: determining whether the
processing of the input image is successful       processing of the input image is successful
based on a determination as to whether the        based on a determination as to whether the
correction is completed”                          correction is completed
United States Patent No. 7,946,491
Claim 41                                          Structure: processing element 72, operations
                                                  210

“means for switching to one of a different        Function: switching to one of a different
barcode reading method or processing a new        barcode reading method or processing a new
frame of the input image using the current        frame of the input image using the current
barcode reading method in response to the         barcode reading method in response to the
processing of the input image being               processing of the input image being
unsuccessful”                                     unsuccessful
United States Patent No. 7,946,491
Claim 41                                          Structure: processing element 72, operations
                                                  260, 270

“means for attempting a decode of the input       Function: attempting a decode of the input
image using the current barcode reading           image using the current barcode reading
method in response to the processing of the       method in response to the processing of the
input image being successful”                     input image being successful”
United States Patent No. 7,946,491
Claim 41                                          Structure: barcode reading element 70,
                                                  processing
                                                  element 72, operations 210-220
“means for performing a switch to the             Function: performing a switch to the
different barcode reading method in response      different barcode reading method in response
to a failure of the attempt to decode the input   to a failure of the attempt to decode the input
image using the current barcode reading           image using the current barcode reading
method”                                           method
United States Patent No. 7,946,491
Claim 41                                          Structure: barcode reading element 70,
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                                        processing element 72, operations 220-230,s
                                        270


IT IS SO ORDERED.

SIGNED this 2nd day of June, 2021.




                                 ALAN D ALBRIGHT
                                 UNITED STATES DISTRICT JUDGE
